            Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 1 of 20




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 8
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 9   CITY AND COUNTY OF SAN FRANCISCO

10

11                                UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13
      SELINA KEENE, MELODY FOUNTILA,             Case No. 4:22-cv-01587-JSW
14    MARK MCCLURE,
                                                 DECLARATION OF ADAM M. SHAPIRO IN
15           Plaintiffs,                         SUPPORT OF DEFENDANT’S OPPOSITION
                                                 TO PLAINTIFF’S ADMINISTRATIVE
16           vs.                                 MOTION TO ALLOW EXPEDITED
                                                 DISCOVERY
17    CITY and COUNTY OF SAN FRANCISCO           [L.R. 6-3, 7-11]

18           Defendant.                          Judge:              Honorable Jeffrey S. White

19                                               Filed:              March 14, 2022
                                                 Trial Date:         None set
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      SHAPIRO DECL. ISO OPPOSITION                                      n:\labor\li2022\220836\01686095.docx
      CASE NO. 4:22-cv-01587-JSW
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             Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 2 of 20




 1   I, Adam Shapiro, declare:

 2          1.      I am currently employed by the City and County of San Francisco (the “City”) as a

 3   Deputy City Attorney, and am lead counsel and counsel of record for Defendants in the above-

 4   captioned matter.

 5          2.      Except where stated otherwise, I have personal knowledge of the following facts and, if

 6   called to testify, could and would testify competently thereto.

 7          3.      On June 22, 2023, I sent an email to Plaintiffs’ counsel, requesting that the parties meet

 8   and confer and reach a stipulation regarding a supplemental briefing schedule regarding the Ninth

 9   Circuit’s decision reversing and remanding the Court’s Order denying Plaintiffs’ motion for a

10   preliminary injunction. I also requested that Plaintiffs’ counsel make Plaintiffs Keene and Fountila

11   available for deposition in advance of the parties briefing for the limited purpose of exploring issues

12   related to the preliminary injunction motion, and that their depositions remain open so that the City

13   could re-depose them after further discovery. A true and correct copy of that correspondence is

14   attached hereto as Exhibit 1.

15          4.      On June 22, 2023, Plaintiffs’ counsel responded: “Sorry--you get one and only one

16   deposition per party. I am calendaring a noticed motion to enter an order re: the Ninth Circuit's ruling.

17   No need to stipulate. You will have the standard time to respond.” A true and correct copy of that

18   correspondence is also included in Exhibit 1.

19          5.      On June 23, 2023, I responded to Plaintiffs’ counsel’s email, stating that the City would

20   be forced to seek administrative relief if Plaintiffs filed their motion without stipulating to a briefing

21   schedule, alerting Plaintiffs that I was on vacation during the week of July 4, 2023, proposing

22   deposition dates, and asking Plaintiffs’ counsel to confirm whether or not he would agree to “(1) put

23   up Keene and Fountila for deposition in advance of our opposition deadline, (2) stipulate to modify the

24   briefing schedule to allow adequate time for us to depose Keene and Fountila and get their

25   transcripts.” A true and correct copy of that correspondence is also included in Exhibit 1.

26          6.      Plaintiffs’ then filed their “Motion to Enter Order Pursuant to the Ninth Circuit’s

27   Memorandum” at around 4:07 p.m. on June 23, 2023. Dkt. No. 82.

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 1          7.      At 4:11 p.m. on June 23, 2023, Plaintiffs’ counsel emailed me stating: “You seem to

 2   forget something: CCSF has NO grounds to oppose a motion to enter an order. The facts determining

 3   the order are set. We do not know what the judge will order and neither do you. You could always

 4   petition to vacate the order if, as it should be, favorable to the plaintiffs. Good luck with that. Further,

 5   you are basically attempting to augment the record with excerpts from my clients’ "short" deposition.

 6   However, you can't augment the record below. CCSF failed to appeal the ruling to an en banc panel

 7   and failed to augment the record before the Ninth Circuit ruled. Additionally, there is nothing CCSF

 8   can get from my clients' "short" depo that you don't already have. Because this has been an ordeal for

 9   my clients I will not stipulate to delay the hearing. This has been going on long enough. Also: If you

10   file a meritless motion I will move for sanctions. Just so you know---The memorandum ruling is the

11   law of the case. If the plaintiffs get an adverse ruling we will be back at the Ninth Circuit on the

12   existing record--not CCSF's attempt to augment it.” A true and correct copy of this correspondence is

13   attached hereto as Exhibit 2.

14          8.      On the evening of July 6, 2023, after the Court issued its order granting the City’s

15   Administrative Motion to Enlarge Time and Allow for Expedited Discovery, Plaintiffs’ counsel

16   emailed me to asked if the City would accept subpoenas for the depositions of San Francisco Mayor

17   London Breed; Carol Isen, the City’s Human Resources Director; and the “Chief Medical Officer of

18   San Francisco,” a position that, to my knowledge, does not exist. A true and correct copy of this

19   correspondence is attached hereto as Exhibit 3.

20          9.      I informed Plaintiffs’ counsel that the City objected to those depositions, that deposition

21   notices would be sufficient, and that in the event that Plaintiffs elected to serve subpoenas, they should

22   provide the requisite notice to the City. To date, I am not aware of Plaintiffs serving any deposition

23   subpoenas on the City or its employees.

24          10.     I also informed Plaintiffs’ counsel that Mayor Breed’s deposition would be an improper

25   apex deposition and asked counsel specify the topics on which Plaintiffs wanted to depose the Mayor.

26   In response, Plaintiffs’ counsel wrote:

27          The mandate at issue, which caused the loss of my clients' careers, was issued by
            Mayor Breed. It's her mandate. She possesses relevant information. After
28          attending an 8 person birthday party in November 2020, and ignoring her
      SHAPIRO DECL. ISO OPPOSITION                                                   n:\labor\li2022\220836\01686095.docx
      CASE NO. 4:22-cv-01587-JSW
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             Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 4 of 20



            own mask mandate in September because she "felt the spirit, and attending
 1          the Pride Parade for hours on end she could hardly claim that taking time
            for a depo would potentially disrupt the business of the city.[Emphasis added].
 2          She would need to be questioned as to the basis of the mandate, why remote
            accommodations were not continued, why the mandate is still in effect even tho
 3          the pandemic is over, why unpaid leave was not an option for the Plaintiffs.
            Other topics would include the effects of the mandate and whether it was effective
 4          in controlling the virus. As the chief executive, she has the power to reverse the
            mandate and we are entitled to know why she hasn't.
 5
     A true and correct copy of this correspondence is part of Exhibit 3.
 6
            11.     Prior to filing Plaintiffs’ Administrative Motion to Allow Expedited Discovery,
 7
     Plaintiffs’ counsel did not contact me regarding the relief sought in that motion, or regarding a
 8
     potential stipulation regarding the relief sought.
 9
            12.     Attached hereto as Exhibit 4 is a true and correct copy of the Court’s July 12, 2023
10
     Order Granting Limited Consolidation Matters filed in Guardado v. City and County of San
11
     Francisco, Case No. 22-cv-04319-JSW.
12
            I certify under penalty of perjury under the laws of the State of California and the United States
13
     of America that the foregoing is true and correct.
14
            Executed this 14th day of July 2023 at San Francisco, California.
15

16                                              By: /s/ Adam Shapiro
                                                   ADAM SHAPIRO
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      SHAPIRO DECL. ISO OPPOSITION                                                  n:\labor\li2022\220836\01686095.docx
      CASE NO. 4:22-cv-01587-JSW
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                  EXHIBIT 1
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      Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 8 of 20



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Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 9 of 20




                  EXHIBIT 2
      Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 10 of 20


From:             Russell Davis
To:               Shapiro, Adam (CAT)
Subject:          Motion
Date:             Friday, June 23, 2023 4:11:01 PM


You seem to forget something: CCSF has NO grounds to oppose a motion to enter an order. The facts
determining the order are set. We do not know what the judge will order and neither do you. You could
always petition to vacate the order if, as it should be, favorable to the plaintiffs. Good luck with that.
Further, you are basically attempting to augment the record with excerpts from my clients "short"
deposition. However, you can't augment the record below. CCSF failed to appeal the ruling to an en
banc panel and failed to augment the record before the Ninth Circuit ruled. Additionally, there is nothing
CCSF can get from my clients' "short" depo that you don't already have.
Because this has been an ordeal for my clients I will not stipulate to delay the hearing. This has been
going on long enough.
Also: If you file a meritless motion I will move for sanctions.
Just so you know---The memorandum ruling is the law of the case. If the plaintiffs get an adverse ruling
we will be back at the Ninth Circuit on the existing record--not CCSF's attempt to augment it.

Russell Davis, Esq.
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                  EXHIBIT 3
               Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 12 of 20




From: Russell Davis <loanhound@sbcglobal.net>
Sent: Tuesday, July 11, 2023 1:54 PM
To: Shapiro, Adam (CAT) <Adam.Shapiro@sfcityatty.org>
Subject: Re: depositions

("[I]t is exceedingly difficult to demonstrate an appropriate basis for an order barring the taking of a deposition.").
"Among the factors the Courts look to" in determining whether to compel an apex witness's deposition are "the
likelihood that the individual possesses relevant knowledge, whether another source could provide identical
information, the possibility of harassment, and the potential disruption of the business." Markowitz, 2022 U.S. Dist.
LEXIS 69984, 2022 WL 1508638, at *2 (citation omitted); see Treppel v. Biovail Corp., No. 03 Civ. 3002 (PKL), 2006
U.S. Dist. LEXIS 7836, 2006 WL 468314, at *1-2 (S.D.N.Y. Feb. 28, 2006); Gen. Star Indem. Co. v. Platinum Indem.
Ltd., 210 F.R.D. 80, 83 (S.D.N.Y. 2002).

Russell Reynolds Assocs. v. Usina, 2023 U.S. Dist. LEXIS 84187, *2

Just one of many cases on the subject. The mandate at issue, which caused the loss of my clients' careers, was issued
by Mayor Breed. It's her mandate. She possesses relevant information. After attending an 8 person birthday party in
November 2020, and ignoring her own mask mandate in September because she "felt the spirit, and attending the Pride
Parade for hours on end she could hardly claim that taking time for a depo would potentially disrupt the business of the
city. She would need to be questioned as to the basis of the mandate, why remote accommodations were not continued,
why the mandate is still in effect even tho the pandemic is over, why unpaid leave was not an option for the
Plaintiffs. Other topics would include the effects of the mandate and whether it was effective in controlling the virus.
As the chief executive, she has the power to reverse the mandate and we are entitled to know why she hasn't.


Russell Davis
On Tuesday, July 11, 2023 at 12:00:33 PM PDT, Shapiro, Adam (CAT) <adam.shapiro@sfcityatty.org> wrote:




Mr. Davis,



I wanted to follow-up on two items. First, as to Mayor Breed, the normal rule is that apex witnesses,
including mayors, are not subject to deposition. Can you please specify what topics wish to depose
the mayor on.



Second, there is no such thing as the “Chief Medical Officer of San Francisco.” The San Francisco
Health Plan (“SFHP”) does have a Chief Medical Officer, but it’s my understanding that person
wouldn’t have any specialized knowledge regarding the vaccine mandate.




                                                            1
                Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 13 of 20



Regards,



Adam Shapiro



From: Shapiro, Adam (CAT)
Sent: Tuesday, July 11, 2023 9:56 AM
To: 'Russell Davis' <loanhound@sbcglobal.net>
Subject: RE: depositions




Dear Mr. Davis,



Please provide Plaintiffs’ deposition dates as soon as possible. We would like to complete these soon, as I have a
vacation scheduled from July 26-August 1, and have a trial starting on August 14.




In light of the administrative motion you filed last night, it appears you do not wish to meet and confer regarding the
proposed depositions referenced in your last email. In any event, we can’t agree to the depositions you propose below at
this time. And we don’t believe you have grounds to depose Mayor Breed at any time. We will provide a substantive
response in our opposition to the administrative motion.




Regards,




Adam Shapiro




From: Russell Davis <loanhound@sbcglobal.net>
Sent: Thursday, July 6, 2023 5:06 PM
To: Shapiro, Adam (CAT) <Adam.Shapiro@sfcityatty.org>
Subject: depositions




I've contacted my clients for dates for their depositions.

Also: Will you accept deposition subpoenas for Mayor Breed,


                                                             2
               Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 14 of 20
Carol Isen and the Chief Medical Officer of San Francisco.




Russell Davis, Esq.




                                                             3
Case 4:22-cv-01587-JSW Document 92-1 Filed 07/14/23 Page 15 of 20




                  EXHIBIT 4
                                       Case
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                                   7                            UNITED STATES DISTRICT COURT

                                   8                           NORTHERN DISTRICT OF CALIFORNIA

                                   9

                                  10   JOSE GUARDADO, et al.,
                                                                                   Case No. 22-cv-04319-JSW
                                  11                      Plaintiff,
                                                                                   Dkt. No. 57
                                  12   v.
Northern District of California
 United States District Court




                                  13                                               ORDER GRANTING LIMITED
                                       CITY AND COUNTY OF SAN FRANCISCO, et al     CONSOLIDATION OF RELATED
                                  14                    Defendants,                MATTERS

                                  15   THADDEUS SALEEM SHAHEED, et al              Case No. 22-cv-06013-JSW
                                  16                      Plaintiff,
                                       v.
                                  17
                                       CITY AND COUNTY OF SAN FRANCISCO, et al
                                  18
                                                        Defendants,
                                  19
                                       DAVID GOZUM                                 Case No. 22-cv-03975-JSW
                                  20
                                                          Plaintiff,
                                  21   v.
                                  22   CITY AND COUNTY OF SAN FRANCISCO,
                                  23                    Defendants,

                                  24   SELINA KEENE, et al.,                       Case No. 22-cv-01587-JSW
                                  25                      Plaintiff,
                                       v.
                                  26
                                       CITY AND COUNTY OF SAN FRANCISCO, et al
                                  27
                                                        Defendants,
                                  28
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                                   1    DENISE ANGELINA DEBRUNNER, et al.,                      Case No. 22-cv-07455-JSW
                                   2                    Plaintiff
                                        v.
                                   3    THE CITY AND COUNTY OF SAN FRANCISCO,
                                   4    et al
                                                             Defendants,
                                   5
                                        APRIL MONEGAS,                                          Case No. 22-cv-04633-JSW
                                   6
                                                              Plaintiff,
                                   7    v.
                                   8    CITY AND COUNTY OF SAN FRANCISCO
                                        DEPARTMENT OF PUBLIC HEALTH
                                   9                         Defendants,
                                  10    JOSEPH COOK,                                            Case No. 22-cv-07645-JSW
                                  11                          Plaintiff,

                                  12    v.
Northern District of California
 United States District Court




                                        CITY AND COUNTY OF SAN FRANCISCO,
                                  13
                                                      Defendants,
                                  14    CHARLOTTE R. SANDERS,                                   Case No. 23-cv-00211-JSW
                                  15                          Plaintiff,
                                  16    v.
                                  17    SAN FRANCISCO PUBLIC LIBRARY, et al
                                                             Defendants,
                                  18
                                  19
                                              On May 12, 2023, Defendant City and County of San Francisco (“Defendant”) moved to
                                  20
                                       consolidate cases that had been (or were subsequently) related by this Court. (See Motion to
                                  21
                                       Consolidate the Related Vaccine Cases (“Motion”), Case No. 22-cv-04319-JSW, Dkt. No. 57.)
                                  22
                                       Defendant had failed to notice the Motion in all related cases and was therefore ordered to re-file a
                                  23
                                       notice of the Motion in all related cases. (See Order dated June 14, 2023.) Defendant then filed an
                                  24
                                       amended notice of the Motion in each of the cases (“Related Vaccine Cases”). Plaintiffs in each
                                  25
                                       of the Related Vaccine Cases were thereby given adequate notice of the Motion and were given
                                  26
                                       time to respond. The Court has now received responses from every plaintiff in each of the Related
                                  27

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                                   1   Vaccine Cases.1 Accordingly, the Motion to Consolidate is ripe for decision.

                                   2            The Court has carefully considered the Motion as well as every response to the Motion

                                   3   filed by each Plaintiff or Plaintiff group in each of the Related Vaccine Cases. The Court finds

                                   4   that every one of the related cases involve overlapping factual issues regarding Defendant’s

                                   5   COVID-19 vaccination policy and involve similar claims about the alleged failure of Defendant to

                                   6   accommodate Plaintiffs’ religious beliefs and/or medical conditions. In its initial case

                                   7   management conference in the Related Vaccine Cases, the Court instructed the parties to work

                                   8   together cooperatively in order to present the merits of their various claims in a manner that avoids

                                   9   redundant filings and preserves both judicial and the parties’ resources. The Court indicated that it

                                  10   would hear the Motion to Consolidate before conducting any further proceedings in these Related

                                  11   Vaccine Cases.2

                                  12            The Court HEREBY ORDERS the Related Vaccine Cases shall be consolidated up to and
Northern District of California
 United States District Court




                                  13   including the Court’s ruling on summary judgment motions, including for discovery and all

                                  14   motions, as follows:

                                  15            (1) The consolidated cases shall all proceed with the same discovery and motion schedule,

                                  16               through and including summary judgment;

                                  17            (2) Written discovery exchanged and depositions taken in any case shall be made available

                                  18               across all cases and shall be treated as if the discovery or deposition had been

                                  19               exchanged or taken originally in each case;

                                  20
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                                  21     Plaintiff Guardado filed his opposition in the then-consolidated 22-cv-04319-JSW/22-cv-06013-
                                       JSW matters (lead case no. 22-cv-04319-JSW) at Docket No. 58. Plaintiff Debrunner (originally
                                  22   case no. 22-cv-07455) filed her opposition in the same consolidated matter at Docket No. 66.
                                       Plaintiff Cook (case no. 22-cv-07645-JSW) filed his opposition in the same consolidated matter at
                                  23   Docket No. 70. Plaintiff Gozum (case no. 22-cv-03975) filed his opposition in the same
                                       consolidated matter at Docket No. 62. Plaintiffs Keene and Fountila (case no. 22-cv-01587-JSW)
                                  24   filed their opposition in their matter at Docket No. 72. Plaintiff Monegas (case no. 22-cv-04633-
                                       JSW) filed her opposition in her matter at Docket No. 37. Plaintiff Sanders (case no. 23-00211-
                                  25   JSW) filed her statement of non-opposition in her matter at Docket No. 35.
                                       2
                                  26    The Court is cognizant that other active matters on the Northern District docket have been
                                       noticed as possibly related. (See Cases Nos. 23-cv-03139-DMR and 22-cv-09045-DMR.) The
                                  27   Court is also cognizant that subsequent matters may be filed which may be noticed before this
                                       Court as possibly related. Accordingly, the Court finds that any subsequent case filed in the
                                  28   District that is determined to be related to the Related Vaccine Cases shall be subject to this
                                       Limited Consolidation Order.
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                                   1            (3) All discovery is REFERRED to Magistrate Judge Illman for resolution;

                                   2            (4) All submissions filed by any party in any Related Vaccine Case shall be filed

                                   3               ONLY in the earliest-filed lead case, Keene v. City and County of San Francisco,

                                   4               No. 22-cv-01587-JSW, commencing from the date of this Order and until the

                                   5               Court rules at summary judgment (not including motions that have already been

                                   6               filed);

                                   7            (5) All Related Vaccine Cases shall remain open on the Court’s docket as member cases3

                                   8               (regardless, the Court reiterates that all parties’ submissions shall be filed exclusively

                                   9               in Keene v. City and County of San Francisco, No. 22-cv-01587-JSW);

                                  10            (6) All appearing counsel and all pro se parties shall be added to the service list for the

                                  11               Lead Case, Keene v. City and County of San Francisco, No. 22-cv-01587-JSW;

                                  12            (7) All motions involving similar legal, factual, or discovery issues shall be coordinated to
Northern District of California
 United States District Court




                                  13               have the same hearing date, to the extent possible;

                                  14            (8) The parties shall cooperate to reach workable agreements regarding motions, shall file

                                  15               consolidated briefs where possible, and shall avoid redundancy;

                                  16            (9) As to any motion filed by Defendant jointly against all Plaintiff groups, each

                                  17               Plaintiff group shall have the right to file their own separate opposition to any such

                                  18               motion and/or may elect to file, in lieu of or in addition to a separate opposition, a

                                  19               joinder in other Plaintiff group opposition papers;

                                  20            (10)   As to any motions filed by a Plaintiff group against the Defendant addressing issues

                                  21               common to other Plaintiff groups, any Plaintiff group shall have the right to file their

                                  22               own supplemental moving papers and/or joinder in support of any such motion;

                                  23            (11)   As to cross-motions for summary judgment, the parties shall meet and confer and

                                  24               briefing shall be coordinated. The parties shall submit only four briefs for any cross-

                                  25               motion (opening, opposition/cross-motion opening, reply/cross-motion opposition, and

                                  26
                                       3
                                  27     The Court HEREBY VACATES the consolidation order dated March 13, 2023, in the 22-cv-
                                       04319-JSW/22-cv-06013-JSW matter (lead case no. 22-cv-04319-JSW at Docket No. 39). The
                                  28   Court re-opens Plaintiff Shaheed’s case no. 22-cv-06013-JSW in order to have this order of
                                       limited consolidation apply to it in the same manner as all the other Related Vaccine Cases.
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                                       Case
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                                   1             reply on cross motion);

                                   2         (12)   All dispositive motions shall be coordinated to occur on the same hearing date

                                   3             across all cases and each Plaintiff group or Defendant shall presumptively have the

                                   4             right to file only one summary judgment motion per case (absent a showing of

                                   5             exceptional cause for additional motions, including a separate motion on damages

                                   6             issues, if necessary, after completion of damages discovery);

                                   7         (13)   The Court shall consider any party’s reasonable requests for extensions of a

                                   8             particular hearing date or briefing schedule to allow the coordinated filing of

                                   9             supplemental moving papers or separate opposition papers.

                                  10

                                  11         IT IS SO ORDERED.

                                  12   Dated: July 12, 2023
Northern District of California
 United States District Court




                                  13                                                  ______________________________________
                                                                                      JEFFREY S. WHITE
                                  14                                                  United States District Judge
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